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                                      UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION


        ABDELRAHMAN F. BADER,                      )
                                                   )
                         Plaintiff,                )
                                                   )
                                                           Case No. 1:18-cv-01367
                   vs.                             )
                                                   )
                                                           Hon. Sharon Johnson Coleman
        NAVIENT SOLUTIONS, LLC,                    )
                                                   )
                         Defendant.                )
                                                   )


               DEFENDANT NAVIENT SOLUTIONS, LLC’S BRIEF IN OPPOSITION TO
              PLAINTIFF’S MOTION TO ALTER JUDGMENT AND STAY PROCEEDINGS




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         I.        INTRODUCTION

                   On June 14, 2019, after a full round of briefing on Navient Solutions, LLC’s (“NSL”)

        motion for judgment on the pleadings (Dkt. 25, 28, 33, 37, 43-44), this Court issued a well-

        reasoned decision granting NSL’s motion and dismissing all of Bader’s claims with prejudice. See

        Bader v. Navient Sols., LLC, No. 18-cv-1367, 2019 WL 2491537 (N.D. Ill. June 14, 2019).1 The

        Court ruled that, in order to adequately allege the use of an automatic telephone dialing system

        (“ATDS”), a plaintiff must plausibly assert that the defendant used equipment that can: (1) generate

        numbers, either randomly or sequentially, and (2) dial such numbers. After having reviewed the

        facts as set forth in Bader’s Complaint, the Court then correctly held that Bader “has not alleged

        any facts that make it plausible [NSL] used an autodialer, as interpreted under the plain meaning of

        the TCPA.” Bader, 2019 WL 2491537, at *2. In doing so, the Court followed other decisions in

        this District, including in Pinkus v. Sirius XM Radio, Inc., 319 F. Supp. 3d 927 (N.D. Ill. 2018)

        (Feinerman, J.), and Gadelhak v. AT&T Servs., No. 17-cv-1559, 2019 U.S. Dist. LEXIS 55200

        (N.D. Ill. Mar. 29, 2019) (Chang, J.).

                   In seeking to amend the Court’s judgment, Bader recites no newly discovered evidence or

        manifest error of law—the prerequisites for relief under Rule 59(e). Nor does he even cite any

        new relevant authority on the subject—let alone any controlling precedent. Rather, Bader merely

        recycles the same arguments that he asserted previously—all of which have been considered and

        rejected by this Court. For these reasons, Bader’s Motion for Reconsideration (Dkt. 49) must be

        denied.




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         Bader’s Complaint asserted two claims—violation of the TCPA and violation of the Illinois Consumer Fraud and
        Deceptive Business Practices Act (“ICFA”), 815 ILCS 505/1. Bader does not seek reconsideration of the Court’s
        Order as to the ICFA claim.

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         II.       LEGAL STANDARD

                   “[A] motion to alter or amend a judgment is not appropriately used to advance arguments

        or theories that could and should have been made before the district court rendered a judgment.”

        L.B. Credit Corp. v. Resolution Tr. Corp., 49 F.3d 1263, 1267 (7th Cir. 1995). “To prevail on a

        motion for reconsideration under [Federal] Rule [of Civil Procedure] 59, the movant must present

        either newly discovered evidence or establish a manifest error of law or fact.” Oto v. Metro Life

        Ins. Co., 224 F.3d 601, 606 (7th Cir. 2000) (citations omitted). “A ‘manifest error’. . . is the

        wholesale disregard, misapplication, or failure to recognize controlling precedent.” Id. (citations

        omitted). Motions brought under Rule 59 require plaintiffs to meet the high burden of showing

        that the district court abused its discretion. See L.B. Credit Corp., 49 F.3d at 1267 (“The decision

        to grant or deny relief on such a motion is one we entrust to the district court’s sound judgment.

        Our review here is commensurately deferential; only if the district court abused its discretion in

        denying LB Credit’s request will we reverse.”).

         III.      BADER CANNOT ESTABLISH MANIFEST ERROR OF LAW OR FACT AND
                   CANNOT POINT TO NEW EVIDENCE, SO AS TO JUSTIFY RELIEF UNDER
                   RULE 59(e).

                   Bader’s Motion is not based on any new evidence, or any errors of fact. Rather, Bader

        purportedly proceeds on the basis of a manifest error of law. However, Bader’s Motion does not

        reference any controlling authority on the issue and does not come close to demonstrating that the

        Court’s June 14, 2019 ruling granting NSL’s motion for judgment on the pleadings resulted from

        a wholesale disregard, misapplication, or failure to recognize controlling precedent—as required

        to meet the demanding burden of Rule 59. For that reason, Bader’s Motion must be denied.

                   A.     Consistent With Precedent From This District, This Court Has Properly
                          Ruled That Bader’s ATDS Allegations Fail To Plausibly Suggest That NSL’s
                          Telephone System Was An ATDS.


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                   Bader’s principal argument in his Motion—same as the argument he made in response to

        NSL’s motion for judgment on the pleadings—is that “there is no way for a plaintiff to know the

        technological capabilities of the device used to place a call short of a caller admitting the fact

        presuit or the plaintiff learning that information during discovery.” Mot. at 2 (citing Gonzalez v.

        Ocwen Loan Servicing, LLC, 2018 U.S. Dist. LEXIS 153480, at *16-17 (M.D. Fla. Sep. 5, 2018)).

        Bader contends that “[o]ther than the circumstantial facts outlined above [in the Complaint, he]

        and his counsel cannot, pursuant to Fed. R. Civ. P. 11, assert anything additional regarding the

        capacity of Defendant’s telephone system to randomly or sequentially generate numbers.” (Mot.

        at 8.)

                   As NSL already explained while rebutting this same argument the first time it was

        asserted—Bader’s contention is categorically not true. As a plaintiff in a TCPA case, Bader is

        required to allege non-conclusory facts to plead the use of an ATDS, a critical element of a TCPA

        cause of action, before he can unlock the doors of discovery. Ashcroft v. Iqbal, 556 U.S. 662, 678-

        79 (2009).2 That standard can certainly be met if, for example, there does not seem to be any

        connection between the caller and the called entity, or if the call is otherwise truly random or

        sequential (such as, for example, if a hospital is receiving multiple calls on sequential numbers

        about cruise offerings). What Plaintiff is no longer entitled to do is rely on the assertion that the

        system at issue is a predictive dialer, and then describe the characteristics of the predictive dialer.

        The reason for this is clear – the fact that a system may be a predictive dialer does not make it any



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          Bader cites Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010), to argue that the relevant inquiry at the
        pleading stage is whether these things “could . . . have happened not did they happen.” However, Swanson is not a
        TCPA case, and it generally reaffirms that “a plaintiff must do better than putting a few words on paper that, in the
        hands of an imaginative reader, might suggest that something has happened to her that might be redressed by the law.”
        Id. at 403. While “the plausibility standard is not akin to a ‘probability requirement,’ . . . it asks for more than a sheer
        possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678; Hanley v. Green Tree Servicing, LLC, 934
        F. Supp. 2d 977, 984 (N.D. Ill. 2013), on reconsideration (June 7, 2013). Bader’s Complaint fails the Swanson—and
        the Iqbal—standard with regard to the ATDS element.
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        more likely, or plausible, that the system has the present capacity to generate random or sequential

        numbers and then to dial them.

                   Bader argues that his Complaint includes “facts regarding the frequency, volume, and

        nature of Defendant’s phone calls, including the fact that Defendant continued to call him after

        receiving his cease and desist letter, as well as Defendant’s collection activities throughout the

        country.” (Mot. at 12.) The Court has already fully analyzed these allegations, and indeed, set

        them out in its ruling. See Bader, 2019 WL 2491537, at *2. These allegations—which are virtually

        identical to the allegations in Pinkus (Dkt. 33, at 5)—go towards Bader’s assertion that NSL’s

        telephone system is a predictive dialer and, therefore, do not aid Bader. As noted by this Court,

        these allegations—including the allegation that NSL tried to reach another customer and continued

        calling Bader even after allegedly being informed that he was not the person NSL was seeking to

        reach—may have been sufficient before ACA Int’l v. FCC, 885 F.3d 687 (D.C. Cir. 2018), but not

        after. After the ACA International decision, Bader has to plead that NSL used equipment with the

        present capabilities to generate numbers randomly or sequentially in order to allege use of an

        autodialer. Bader, 2019 WL 2491537, at *2. Here, “Bader does not put forth any factual

        allegations that suggest Navient Solutions dialed his number using equipment that had the capacity

        to generate random or sequential numbers.” See id.

                   Indeed, if repeated calls mean anything, it is that NSL intended to reach a particular person,

        and did not use a random or sequential number generator to generate and then dial Bader’s number.

        Smith v. Aitima Med. Equip., Inc., No. CV 16-0339-AB, 2016 WL 4618780, at *6 (C.D. Cal. July

        29, 2016) (granting defendant’s motion to dismiss where the caller “asked for a specific individual

        . . . [which goes] against an inference that an ATDS was used because they suggest that the calls

        were directed at certain individuals and not randomly generated by an automated device”).


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                   In fact, another court just recently dismissed a TCPA complaint with prejudice based on

        the same allegation—that the plaintiff received text messages intended for another person at her

        reassigned number. Snow v. Gen. Electric Co., No. 5:18-cv-511-FL, 2019 WL 2500407, at *8

        (E.D.N.C. June 14, 2019). As the Court explained, “[b]ecause plaintiff alleges that the text

        messages she received were intended for the prior owner or holder of her reassigned number, a

        targeted recipient, and because of the alleged content of the messages, it is not reasonable to infer

        that the messages were sent with equipment ‘using a random or sequential number generator.’”

        Id. at 8-9. Just as in Snow and Pinkus, “plaintiff’s own allegations foreclose a determination that

        defendants called her with equipment using a random or sequential number generator.” Id. at 12;

        see also Ibey v. Taco Bell Corp., No. 12-CV-0583, 2012 WL 2401972, at *3 (S.D. Cal. June 18,

        2012) (where the complaint admitted that plaintiff opted in to receive communications from Taco

        Bell, it was more plausible that Taco Bell was contacting him pursuant to that consent rather than

        through the use of a random or sequential number generator in violation of the TCPA).

                   Bader also incorrectly contends this Court’s opinion resulted from a manifest error of law

        due to its reliance on Pinkus and Gadelhak, given “the inapplicability of these opinions.” (Mot. at

        12.) But Bader fails to set forth any bases to suggest that either of these two opinions—both well-

        reasoned decisions rendered by other judges in this District—are bad law or improper.

                   For example, Bader attempts to distinguish this case from Pinkus by alleging that his

        allegations in the Complaint were more substantial than those pled in Pinkus. They were not.

        Indeed, as NSL has previously explained (see Dkt. 33, at 5), the allegations here are nearly identical

        to those in Pinkus. In particular, the Pinkus complaint alleged a predictive dialer, a pause when

        plaintiff would answer, the receipt of approximately 100 calls, and all calls intended for a person

        who was not the defendant’s customer. (Pinkus Am. Compl., Dkt. 28-1, ¶¶18-19, 21, 23.) Having


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        considered these allegations, the Court in Pinkus concluded the complaint did not assert any facts

        to demonstrate that the telephone system at issue had the capacity to generate numbers randomly

        or sequentially. Pinkus, 319 F. Supp. at 939. Bader’s own allegations are virtually identical to

        those in Pinkus, and he has done nothing to differentiate his case from Pinkus.

                   Likewise, Bader seeks to distinguish this case from Gadelhak, 2019 WL 1429346, because

        Gadelhak was decided on summary judgment. But the Court is well aware of this, and simply

        cited Gadelhak for the proposition that “defendant’s equipment which dialed numbers from a

        generated list did not qualify as an autodialer.” Bader, 2019 WL 2491537, at *2. There is nothing

        improper about the Court’s citation.

                   Importantly, the evidence in Gadelhak mirrors the allegations in Bader. Like Bader,

        plaintiff in Gadelhak was not a customer of the defendant, but received certain text messages from

        the defendant because his “number must have been erroneously listed on an AT&T account.” Id. at

        *1. This Court dismissed the case, observing that plaintiff failed to establish that defendant’s

        telephony equipment—which sent text messages to customers’ numbers pulled from a list of stored

        numbers—qualified as an ATDS. Despite a different procedural posture, Gadelhak is instructive

        here.

                   B.     Bader Fails To Cite Any Controlling Authority To The Contrary.

                   In his current Motion, Bader relies on many of the same out-of-circuit cases that he cited

        during the motion for judgment on the pleadings briefing. For example, Bader again references

        Gonzalez, 2018 WL 4217065—a case from another jurisdiction that actually supports NSL’s

        central position that predictive dialers do not, as a category, qualify as an ATDS, and that instead

        the telephone equipment has to generate the numbers randomly or sequentially and then dial those

        numbers. However, like Bader’s other claims, NSL has already distinguished Gonzalez from the


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        instant matter. (Dkt. 33, at 6-7.) Specifically, the plaintiff in Gonzalez alleged a higher number

        of calls (approximately 500), taking place over four years, and that the defendant placed calls using

        an artificial or pre-recorded voice, which obviated the need for an ATDS analysis. Id. at *7. Here,

        Bader alleges only around 100 calls over, at most, six months, and no calls using an artificial or

        pre-recorded voice, but, instead, calls allegedly made with a predictive dialer.

                   Bader similarly cites other out-of-circuit cases that pre-date the March 18, 2018 decision

        in ACA International and are inapposite for that reason alone. (Mot. at 6-7 (citing Gamboa v.

        Merrick Bank Corp., No. 1:16-cv-02350, 2016 U.S. Dist. LEXIS 188589, at *17-19 (N.D. Ga.

        Nov. 30, 2016); White v. Synchrony Bank, No. 8:15-cv-01205, 2015 U.S. Dist. LEXIS 134629

        (M.D. Fla. Oct. 2, 2015); Neptune v. Whetstone Partners, LLC, 34 F. Supp. 2d 1247, 1250 (S.D.

        Fla. 2014); Crawford v. Target Corp., No. 3:14-cv-0090, 2014 U.S. Dist. LEXIS 159203, *7 (N.D.

        Tex. Nov. 10, 2014); Cunningham v. Techstorm, LLC, No. 3:16-cv-2879, 2017 U.S. Dist. LEXIS

        25047, *7 (N.D. Tex. Feb. 23, 2017); Loveless v. A1 Solar Power, Inc., No. EDCV141779

        FMODTBX, 2015 WL 4498787 (C.D. Cal. July 23, 2015); Torres v. Nat’l Enter. Sys., Inc., 2012

        WL 3245520, at *3 (N.D. Ill. 2012); Langston v. Cach, LLC, 14-cv-08642, at *2 (N.D. Ill. 2015)).

                   Still other cases cited by Bader are not precedential, wrongly decided and/or nonetheless

        distinguishable. (Mot. at 9-10 (citing Asher v. Quicken Loans, Inc., No. 2:17-cv-1203, 2019 WL

        131854, at *7 (crediting the conclusory allegation that “the calls were made using an ATDS, as

        the term is defined in 47 U.S.C. § 227(a)(1)); Wilson v. Quest Diagnostics, Inc., 2018 U.S. Dist.

        LEXIS 212023, at * 10 (D.N.J. Dec. 17, 2018) (crediting predictive dialer allegations and

        erroneously concluding that predictive dialers qualify as ATDS even after ACA International);

        Washington v. Ross Med. Educ. Ctr., No. 3:18CV139-PPS/MGG, 2018 WL 2336073, at *1 (N.D.

        Ind. May 22, 2018) (erroneously crediting allegations of dead-air time—indicative of the use of


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        predictive dialer—to be sufficient); Sessions v. Barclays Bank Del., 317 F. Supp. 3d 1208 (N.D.

        Ga. 2018) (same).) The Court should not rely on this unpersuasive and inapposite authority.

                   Bader only cites two cases from this District dealing with the subject of ATDS capacity

        post-ACA International. First, Bader relies on Zeidel v. Nat'l Gas & Elec., Ltd. Liab. Co., No. 18

        CV 06792, 2019 WL 2161546 (N.D. Ill. May 17, 2019) (Lee, J.), where the Court denied

        defendant’s motion to dismiss a TCPA claim. However, Zeidel is distinguishable. There, plaintiff

        alleged that defendant placed multiple generic calls to market its services and, further, the calls

        came from two different “spoofed” numbers. These allegations are more consistent with the

        alleged use of an ATDS. Id. at *3. Here, by contrast, the content of the calls was clearly intended

        for a specific individual whom the Complaint expressly alleged to be a prior NSL customer.

                   Second, Bader cites Hayes v. Receivables Performance Mgmt., LLC, No. 17-cv-1239, 2018

        WL 4616309 (N.D. Ill. 2018) (Dow, J.). To begin with, Hayes was decided long before the Court

        ruled on NSL’s motion, yet Plaintiff did not raise it to the Court. Further, defendant’s motion to

        dismiss in Hayes was fully briefed prior to ACA International being decided, and therefore the

        Court there did not consider the impact of ACA International on the FCC’s predictive dialer

        regulations. Thus, the decision in Hayes—which relied on the presence of various predictive dialer

        characteristics to satisfy the ATDS definition at the pleading stage—is not persuasive.

                   In sum, far from establishing misapplication of the controlling precedent, Bader’s brief

        cites authority that is either inapposite or has been considered and rejected by this Court.

        Considering that “Rule 59 is not a vehicle for rearguing previously rejected motions,” Bader’s

        Motion must be denied. See Oto, 224 F.3d at 606 (affirming the district court’s denial of motion

        where defendant’s “motions for reconsideration did little more than rehash old arguments




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        [because] Rule 59 is not a vehicle for rearguing previously rejected motions and, as that is what

        [defendant] attempted to do.”).3

         IV.       CONCLUSION

                   Because Bader fails to establish newly discovered evidence or a manifest error of law or

        fact, the Court should deny Bader’s Motion and affirm its June 14, 2019 judgment dismissing

        Bader’s Complaint as a matter of law.




            Dated: August 13, 2019
                                                                           Respectfully submitted,

                                                                           ATTORNEYS FOR DEFENDANT



                                                                           By: /s/ Robert H. Griffith
                                                                                  One of Their Attorneys

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          Bader also states that, if his Motion is successful, his claims should be stayed pending the outcome of the appeal in
        Gadelhak v. AT&T Servs., No. 17-cv-1559, 2019 U.S. Dist. LEXIS 55200 (N.D. Ill. Mar. 29, 2019), appeal pending,
        No. 19-1738. NSL respectfully requests that, to the extent the Court grants Bader’s request to reinstate his TCPA
        claim, the Court order a separate briefing and oral argument on Bader’s motion to stay proceedings, based on the
        particular decision of this Court and the procedural posture of this and the Gadelhak appeal at the relevant time.
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                                    CERTIFICATE OF SERVICE

                Robert H. Griffith hereby states that on August 13, 2019, he served a copy of
        DEFENDANT NAVIENT SOLUTIONS, LLC’S BRIEF IN OPPOSITION TO
        PLAINTIFF’S MOTION TO ALTER JUDGMENT AND STAY PROCEEDINGS, and this
        Certificate of Service, via email on:

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